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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA

  MICHAEL ASHFORD                                           CIVIL ACTION NO. 14-992

  VERSUS                                                    JUDGE UNASSIGNED

  AEROFRAME SERVICES LLC, AND                               MAGISTRATE KAY
  AVIATION TECHNICAL SERVICES,
  INC.


   UNOPPOSED AND AGREED MOTION TO SUSPEND BRIEFING DEADLINES AND
                      CONTINUE ALL HEARINGS

          NOW INTO COURT, through undersigned counsel, comes Aeroframe Services, L.L.C.,

  who moves this Court, with agreement from opposing counsel opposite, to continue all upcoming

  hearings, including, but not limited to, the Evidentiary Hearing on ATS Motion for Sanctions (Doc 159)

  set for October 8, 2020 and suspend all briefing deadlines in this case and all related cases, including, but

  not limited to, the Deadline to submit Opposition to ATS Memorandum (Doc 299) as follows:

                                                       1.

          Before this Court for evidentiary Hearing on October 8, 2020, is ATS Motion for Sanctions

  (Doc. 159).

                                                       2.

          Currently this Court has set the briefing deadline for Somer Brown, Aeroframe Services,

  L.L.C., Roger Porter and Tom Filo, to submit their Oppositions to ATS’ Memorandum Suggesting

  Appropriate Sanctions Against the Sanctioned Parties (Doc 299), for September 4, 2020.

                                                       3.


          Due to the mass destruction of Hurricane Laura in Lake Charles, Louisiana, on Wednesday

  August 26, 2020, it is anticipated that it will take months before the offices of Terry Thibodeaux,

  Somer Brown, Tom Filo and David Frohn will be operational. Undersigned counsel has personally
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  spoken to each attorney, who at this time, do not even know the full consequence of the destruction

  of Hurricane Laura, where they reside and operate their offices. Further, undersigned has been

  authorized by, and requested to do so, by, the above listed attorneys representing all of the parties

  adverse to ATS.

                                                   4.

        Counsel for ATS did not object to continuing hearings or the reset of deadlines.


                                                   5.

         Undersigned counsel prays that all deadlines, including the briefing deadline of September

  4, 2020 to ATS Memo (Doc 299) be suspended, and that the upcoming Evidentiary Hearing

  currently set for October 8, 2020 be continued to a status conference date for the parties to select

  new deadlines. So that the Court understands, there were depositions of counsel for ATS, that

  were upset due to Hurricane Laura, that are necessary to go forward.




                                                        Respectfully submitted,

                                                        s/ Lawrence C. Billeaud
                                                        Lawrence C. Billeaud (La. Bar #20106)
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                                                        COUNSEL FOR AEROFRAME
                                                        SERVICES, L.L.C.
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                                 CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a copy of the above and foregoing motion was filed

  electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be

  sent to all counsel of record via the Court’s CM/ECF system, this 28th day of August, 2020.



                                                     s/ Lawrence C. Billeaud
